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REGULATION

Finra targets a dozen offshore firms
suspecting of trading in
pump-and-dumps

In the past two years, Finra has asked the SEC to investigate at least a dozen
osthore banks and brokerage houses that have generated at least 337 million in
proceeds ji‘om suspicious trading in companies linked to pump-and-dump schemes

by Bl|l Meagher O Updated on September13,2013.02:05 PM ET

|n the past two years, the Financia| industry Regulatory Authority has asked the Securities and Exchange
Commission to investigate at least a dozen offshore banks and brokerage houses that have generated at
least $37 million in total proceeds from suspicious trading in companies linked to pump-and-dump

schemes, according to internal documents obtained by The Dea|.

The allegations were made in a series of reports that Finra sent to the SEC in 2012 and 2013. Officia|s

from the SEC and from Finra, which regulates broker-dealers declined to comment for this story.

The entities named by Finra include Ca|edonlan G|oba| Financial Services |nc. and Ca|edonian Bankl
located in the Cayman |slands; Legacy G|obal Markets SA and C|earwater Securities lnc. of Belize; Argus
Stockbrokers Ltd. of Cyprus; CBH Cor'npagnie Bancaire Helvetique SA, Rigi Capita| AG and Bank
Gutenberg AG of Switzerland; Verdmont Caplta| SA and Financia| Paciflc lnc. of Panama,' Sharma
|nvestments |nc. of Samoa; Sherman Capita| LLC of the Phi|ippines and Boutique Services Ltd. in Hong

Kong.
So far, it does not appear that the SEC has brought any enforcement actions against the offshore flrms.

None of the offshore banks and trading houses named by Finra in its "Fraud Survei||ance" reports

responded to The Dea|'s requests for interviews

The reports allege that the firms traded in shares of Goff Corp., Marine Dl'i\re Mobile Corp., Toron lnc.,
Biotiamex Corp. and U.S. High|and |nc. A|| of the companies were the subjects of paid stock promotions
A|| of their stocks climbed as a result of the promotions and then dropped after insiders sold shares A||

the companies were also named in Finra reports to the SEC as probable targets of pump-and-dump

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campaigns
The companies did not respond to requests for comment from The Dea|.

Pump-and-dumps typically occur in microcap companies that are the subjects of paid promotions Stock
promotion is often done through e-mail and direct-mail advertising targeting retail investors. The
promotional materials often make colorful or exaggerated claims about the future course of the company
or its productsl The promotion is also sometimes paired with a flurry of press releases from the company
itself, announcing positive developments in its business. Retail investors may buy shares based on the
promotional claims, while insiders wait for the shares to rise, and then sell off their positions into the

promotionl

Paid promotions are not necessarily illegal. To be legal. however, the promotion must contain true
information and a legal a disclaimer disclosing that the promotion was paid for, who is paying for it and

who is being paid.

The Finra reports, which originated in the agency's Office of Fraud Detection and Market |ntelligence in
Rockvi|le Nld., detailed the trades made by the offshore firms, the backgrounds of the companies involved.
their finances and, in some cases, include interviews with company managementl The dispatches also
point out where press releases from the companies coincided with the promotions, detailed the
promotions, named promoters and described the claims they made about the companies Each report
ends with a conclusion that the combination of promotions timely trades and sometimes other issues

suggest that a pump-and-dump has occurred.

The Finra reports allege that Catedonian Globa|`s, Ca|edonian Bank's, Legacy's, Argus', CBH's, Bank

Gutenberg's. Verdrnont's and Clearwater's trading in Goff Corp. generated total proceeds of $24.6 million.

Goff purports to be a mining concern headquartered in i\/|edel|inl Colombia. Ear|ier this year, someone
paid 83 million for websites including PennyStockPillager.com and AwesomePennyStocks.com to

promote Goff shares

"When the price of gold EXPLODES-shares of GOFF could scar-transforming early investors into

Mi||ionaires!" one promotion from PennyStockPil|ager stated.

Finra said that trading records obtained from U.S.-based brokers Scottsdale Capital Advisors, Vertica|
Groi.tp and Knight Execution & Clearing Services LLC showed that the offshore traders bought Goff in
March and sold the stock by Apri|, as the share price rose from 20 cents to 65 cents Goff, which trades

over the counter under the symbol GOFF, was trading at 0.78 cents as of Sept. 12.

C|earwater Securlties of Be|ize made $4 million trading Goff shares, according to Finra The firm's trading
account with Scottsda|e Capital was opened in April 2012 by Phi|ip Kueber_ He has been referred to the
SEC by Finra at least eight times for his alleged involvement with pump-and-dump schemes, including one
involving the shares of purported mining company Pepper Rock Resources Corp. in May 2011. Kueber
Was Pepper Ftock`s CEO in 20‘| 0. He was also an officer with privately held 0xa|is Energy Group lnc., which
participated in a joint venture with Pepper Rock that year. according to Finra. The agency alleges that
Pepper Rock was a vehicle for a pump-and-dump fueled by lnternet promotions and company-issued

press releases

Legacy G|obal also traded in the Pepper Rock pump-and-dump, according to Finra. Kueber vvas a

signatory on account documents associated with Legacy.

l-le could not be reached for comment by The Dea|.

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ln the case of Biof|amex, a Danish-based company that claims to manufacture fire extinguishersr it issued
its first~ever press release on March 5, 2012. The next clay a 3552,500 stock promotion began. Bioflamex

shares jumped from 36 to $20.92 that day.
By March 9, they had fallen to 33.96.

Bioflamex then issued a press release claiming to have "initiated an internal review and investigation of
the unusually high volume of trading in its common shares on the OTC Bu|letin Board, and the resulting
precipitous drop in the market price of its stock." CEO Kristian Schiorn'ng went on to blame a "slander
campaign" against the company on stock trading message boards and a very high volume of short selling

and panic selling for the share slide.
Finra said Bioflame>< never responded to its request for more information
As of Sept_ 12l 2013l the stock, which trades under the symbol BFLX, was quoted at .05 cents

|n the case of Marine Drive Mobi|e, Finra detailed a May 2012 stock promotion that was paid for by
Newmarket Traders Ltd. According to the report, John Person's Bottom Line News|etter claimed that a
810,000 investment in Marine Drive Mobile could turn into 3261,700 "in nearly the blink of an eye'l and that
the company might be acquired by Facebook lnc. at §26.17 a share. San Francisco-based Marine Drive
Mobile offers technology that consumer Companies can use to manage daily-deal and loyalty programs A
legal disclaimer in Person`s newsletter said he had not verified any of the information in his publication

and that he had been paid 35.000 to promote Marine Drive Mobi|e.

The Finra report noted that Person and his newsletter had been referenced several times before by the
regulator to the SEC "for his suspect promotion of issuers that were potentially the subject of a ’pump-
and-dump' scheme." Finra said it previously referred Person to the SEC in March 2012 for the promotion of

FrogAds lnc.

The promotion of Marine Drive drove its shares from 67 cents on Mayt to $1.06 on May 24, according in

Finra.

As of Sept. 12, 2013, |Vlarine Drive stock had not traded for the past two days and Was last quoted at 1

cent. The shares trade over the counter under the symbol MDMCD.

Finra officials interviewed Marine Drive CEO Colin MacDona|d about the promotion in May 2012. He told
them that he had "no clue on this crap.“ that he did not know anything about any promotions paid for by

people unaffiliated with the company and he had not hired anyone to do investor relations

He had, however, hired Kevin Finn to market the company, according to Finra_ Finn was Person's agent.
Finn told Finra that Person was paid 810,000 for his promotion of Marine Drive Mobi|e. Finn also said that

he had been referred to the company by a Vanr:ouvi=.-rl British Co|umbia-based client.

Finn said he did not review Person‘s newsletter and that he did notjudge material in the newsletters for
"truthtulness." Finn also told Finra that if someone involved in the Marine Drive Mobile promotion was

doing something wrong, the regulator should "bring the bastards to justice."

A June 2012 promotion of the company by the James Rapholz Economic Advice newsletter called Marine
Drive Mobi|e the "Game Changer of the Decade” and claimed that the company could become a takeover
target for "Goog|e, Amazon, Living Social or Groupon itself could suddenly enter a bidding war to get their

hands on this breal<through technology."

Rapholz advised investors to buy the stock at below 32 with a short-term target price of 83.50 to $4 and a

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two-year target of 327.

A legal disclaimer in Rapho|z's newsletter shows that he was paid S7,500 by Newmarket Finra noted that
Rapholz was banned from the securities industry for a decade in 1991 because of his alleged securities
law violations in his sales of shares in a F’alm Eleach, Fla.-based equity fund. Rapholz was also the subject
of a cease-and-desist order from the South Carolina Securities Commissioner over the promotion of

Col:ira Oil & Gas Co., now known as Viper Resources lnt:.l in 2010. Finn was referenced in the same order.

Person did not return a call from The Dea| seeking comment. Finn declined to comment MacDonaid
could not be reached for comment. Phone numbers listed for Rapholz's Economic Advice newsletter were

either disconnected or had been reassigned to another business

A disclaimer in Rapholz's newsletter had said that Newmarket managed a production budget of 3460,000

to promote |Vlarine Drive Mobi|e.

ln the case of Toron, a Montreal-based mining company, Rigi Capita| engaged in trades that appeared to
match with Financial Paciflc and Boutique, according to Finra. Rigi sold the same number of shares on the
same days and at the same time that the other traders bought the same number of share with limit prices
|n its report to the SEC, Finra said that Rigi made $621195 from its trades, and Bank Gutenberg realized
$22,135. Sharma investments made $40,489.

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